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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 1:09 CR 423-5
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
JACOB BALCAZAR-CARRILLO,                      )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge William H. Baughman, Jr., regarding the change of plea hearing of , which was

referred to the Magistrate Judge with the consent of the parties.

       On September 23, 2009, the government filed a five-count Indictment, charging

Defendant, Jacob Balcazar-Carrillo with Illegal Reentry After Deportation in violation of Title 8

United States Code, Section 1326. Defendant Balcazar-Carrillo was arraigned on October 1,

2009, and entered a plea of not guilty to count 5before Magistrate Judge Greg White. On

November 24, 2009, Magistrate Judge William H. Baughman, Jr., received Defendant Jacob

Balcazar-Carrillo’s plea of guilty to count 5 Indictment and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of
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guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Balcazar-Carrillo is found to be competent to enter a plea and to understand his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds the plea was entered knowingly,

intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Defendant Balcazar-Carrillo is adjudged guilty to Count 5 of the Indictment,

in violation of Title 8 United States Code, Section 1326. This matter was referred to the U. S.

Probation Department for the completion of a pre-sentence investigation and report. Sentencing

will be on January 5, 2010, at 9:00 a.m. in Courtroom 17-A, Carl B. Stokes United States Court

House, 801 West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.

                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE

January 5, 2009
